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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 93-00597-CR-MOORE/SIMONTON

   UNITED STATES OF AMERICA,

                   Plaintiff,
   v.

   OSCAR CUNI,

                   Defendant.
                                          /

                       REPORT AND RECOMMENDATION ON DEFENDANT’S
                                MOTION FOR INVESTIGATION

             This matter is before the Court upon Defendant Oscar Cuni’s Motion to

   Investigate (DE # 1824), and various supplemental memoranda. The Motion has been

   referred to the undersigned Magistrate Judge (DE #1827). For the following reasons, the

   undersigned recommends that Defendant’s Motion to Investigate be dismissed for lack

   of jurisdiction.

             I. BACKGROUND

             On December 15, 1994, following a jury trial, Defendant Oscar Cuni was convicted

   of various drug related offenses, including conspiracy to possess cocaine with intent to

   distribute, in violation of 21 U.S.C. § 846. On May 24, 1995, Mr. Cuni was sentenced to

   life imprisonment. Mr. Cuni’s conviction and sentence were upheld on appeal by the

   Eleventh Circuit Court of Appeals on October 20, 2001. United States v. Novaton, 271 F.

   3d 968 (11th Cir. 2001). Mr. Cuni’s pro se writ of certiorari to the Supreme Court of the

   United States was denied on November 18, 2002. Cuni v. United States, 537 U.S. 1031

   (2002).

             On November 24, 2003, Defendant Cuni filed a Motion to Vacate Sentence

   pursuant to 28 U.S.C. § 2255 which was denied by the district court as untimely. See
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   Case No. 03-23083-CIV-KMM. Defendant then filed several other motions in that matter,

   including at least two motions pursuant to Fed.R.Civ.P. 60(b)(4) related to the denial of

   his § 2255 Motion, all of which were denied by the district court as well.

          On September 14, 2004, Defendant Cuni filed another Motion to Vacate pursuant

   28 U.S.C. § 2255, which was deemed a successive motion and was dismissed by the

   District Judge for Mr. Cuni’s failure to obtain authorization from the Eleventh Circuit

   Court of Appeals prior to filing the motion. See Case No. 04-22309-CIV-KMM.

          On June 7, 2005, Defendant Cuni filed a Rule 60(b) Motion that was characterized

   by the District Judge as a Motion to Vacate pursuant to 28 U.S.C. § 2255, and which was

   also dismissed by the court as a successive petition. See Case No., 05-21562-CIV-KMM.

          On July 27, 2007, Defendant filed a Writ of Mandamus that was treated by the

   District Judge as another successive Motion to Vacate. That case was dismissed due to

   Mr. Cuni’s failure to obtain permission from the Eleventh Circuit Court of Appeals to file

   a successive petition, and because the Court concluded that a Writ of Mandamus was an

   improper procedural tool for Mr. Cuni to collaterally attack his conviction. See Case No.

   07-21933-CIV-JORDAN.

          Defendant has now filed the instant motion seeking to have the District Court

   initiate an investigation into his case due to the alleged use of falsified information by

   the government, and specifically by Special Agent Lee Michael Lucas of the Drug

   Enforcement Administration (“DEA”), in obtaining Mr. Cuni’s conviction (DE #1824). Mr.

   Cuni asserts that DEA Special Agent Lucas presented false and fraudulent information in

   the affidavit that served as the basis for the wiretap that was issued to intercept

   conversations on two of Mr. Cuni’s cell phones during the course of the investigation

   which led to his 1993 conviction.

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          Specifically, Mr. Cuni asserts Special Agent Lucas, inter alia, altered the

   information given by an FBI informant and other witnesses by changing the dates and

   replacing the name of another person with Mr. Cuni’s name, in drafting three affidavits

   used in support of the wire tap application. According to Mr. Cuni, the three people who

   allegedly provided the information contained in the affidavits denied in court that they

   made the incriminating statements against Mr. Cuni contained in the affidavits. Mr. Cuni

   argues that all of these actions were done in violation of his Fourth Amendment rights.

          In support of his Motion, Mr. Cuni filed supplemental materials consisting

   primarily of copies of newspaper articles regarding a recent indictment against Special

   Agent Lucas in Ohio for making false statements in the course of a criminal investigation

   in violation of people’s civil rights (DE # 1830).

          II. LAW AND ANALYSIS

          At the outset, the undersigned is mindful that because the movant is proceeding

   pro se, the Court must construe his request for post-conviction relief liberally, United

   States v. Brown, 117 F.3d 471, 475 (11th Cir. 1997), and consider all possible bases of

   authority for relief even though none may be identified. United States v. Jordan, 915

   F.2d 622, 624-25 (11th Cir.1990), cert. denied, 499 U.S. 979 (1991). Thus, the court will

   examine Mr. Cuni’s Motion to Investigate under the appropriate avenues of relief

   potentially available to him notwithstanding the style of his motion.

          A. The Court’s Inherent Powers

          Mr. Cuni requests that the Court invoke its inherent powers to initiate an

   investigation into the alleged fabrications of Special Agent Lucas which resulted in Mr.

   Cuni’s conviction. Federal courts have, as part of their inherent powers, the right to


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   conduct independent investigations in order to determine whether a judgment has been

   procured through fraud upon the court. Chambers v. NASCO, 501 U.S. 32 (1991).

   Although these inherent powers have been applied in civil and criminal contexts, they

   may be limited in post-conviction challenges to the extent they run afoul of the Federal

   Rules of Criminal Procedure, see Carlisle v. United States, 517 U.S. 416 (1966) and in the

   §2255 context, may be subject to the Antiterrorism and Effective Death Penalty Act

   (“AEDPA”) restrictions. United States v. Barrett, 178 F.3d 34, 55 n.18 (1st Cir. 1999)

   (noting that same rationale for imposing AEDPA limitations to coram nobis actions

   applies to court’s inherent powers). In this matter, it is clear that although Mr. Cuni

   requests the court to conduct an investigation into the alleged fraud perpetrated against

   the court, Mr. Cuni is actually challenging the validity of his underlying criminal

   conviction. Accordingly, the statutory and procedural rules related to criminal

   convictions and challenges thereto, apply to the instant Motion. United States v. Scott,

   313 F.3d 8915 (7th Cir. 2005) (applying limitations of successive petitions to motion

   seeking grand jury records where records were sought to undermine validity of criminal

   conviction). With this framework in mind, the possible bases for relief are discussed

   below.

            B. Motion to Vacate, 28 U.S.C. § 2255

            As mentioned above, the instant Motion to Investigate is in essence a collateral

   attack on Mr. Cuni’s conviction and thus is actually a motion to vacate pursuant of 28

   U.S.C. § 2255. Indeed, although Mr. Cuni requests that the court initiate an investigation,

   the heart of his claim seeks to have his conviction set aside due to alleged fraudulent

   statements contained in the wiretap applications that Mr. Cuni asserts violated his

   Fourth Amendment rights.

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          Since Mr. Cuni has already filed several motions to vacate pursuant to § 2255, all

   of which have been denied, the Motion is procedurally barred as a successive motion

   which requires Mr. Cuni to obtain approval from the Eleventh Circuit as required by 28

   U.S.C. §§ 2255(h) and 2244 prior to filing the instant motion. Without obtaining such

   permission, this court is without jurisdiction to entertain another § 2255 motion.

          In addition, the Defendant’s Motion is time barred by AEDPA which imposes a one

   year statue of limitations for filing a § 2255 motion from the date on which the judgment

   of conviction becomes final, or when certain other dates that are not applicable to this

   action occur. Outler v. U.S., 485 F. 3d 1273, 1278 (11th Cir. 2007). In this case, it is

   undisputed that Mr. Cuni’s petition for certiorari to the Supreme Court of his appeal of

   his conviction and sentence was denied in 2002, and the instant Motion was not filed

   until 2008. Thus, the motion is barred by the one-year AEDPA statute of limitations.

          Finally, the specific issues raised by Mr. Cuni in the Motion at bar were previously

   addressed at several stages of the proceedings, including in his direct appeal of his

   criminal conviction. In that appeal, among other things, Mr. Cuni asserted that the trial

   court erred in failing to suppress evidence obtained from a wiretap secured through

   affidavits drafted by DEA Special Agent Lee Lucas that contained material

   misrepresentations and omissions. It appears that substantially the same

   misstatements are alleged as the basis for relief in the presently pending motion. The

   Eleventh Circuit upheld the district court’s decision to deny the motion to suppress and

   specifically found that even assuming that the challenged statements made by Agent

   Lucas in the affidavits submitted in support of the wiretap applications were deliberately

   false, there was an ample showing of probable cause in the affidavits to support the

   issuance of the wiretaps. United States v. Novaton, 271 F. 3d 968, 987-988 (11th Cir.

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   2001), cert. denied, 537 U.S. 1031 (2002). This circuit has made clear that once a matter

   has been decided adversely to a defendant on direct appeal, it cannot be re-litigated in a

   collateral attack under § 2255. United States v. Nyhuis, 211 F. 3d 1340, 1343 (11th Cir.

   2000) quoting United States v. Natelli, 553 F.2d 5, 7 (2d Cir. 1977). Thus, Mr. Cuni’s

   instant Motion is barred since the issues raised therein have already been resolved

   adversely to him by the Eleventh Circuit Court of Appeals.

          To the extent that Mr. Cuni is requesting the Court to conduct an independent

   investigation for the purpose of determining whether any other misstatements were

   made, he misperceives the role of the Court-which is to determine the merits of a

   controversy based upon evidence presented by the parties. To the extent that he is

   requesting the Court to investigate whether Agent Lucas perpetrated a fraud on the

   Court for the general purpose of vindicating the authority of the Court without

   challenging his underlying conviction, it is not appropriate to seek such relief in his

   criminal case; and, he does not have standing to initiate such proceedings. See

   generally Whitmore v. Arkansas, 495 U.S. 149, 160-61 (generalized interest in

   constitutional governance, i.e., to have Government act in accordance with the law, is

   not sufficient to establish standing); Simon v. Eastern Ky. Welfare Rts. Org., 426 U.S. 26,

   38 (1976) (to establish standing requires a party to show an injury “that is likely to be

   redressed by a favorable decision.”); Keyter v. 535 Members of 110th Congress, 2008 WL

   2037619, 277 Fed. Appx. 825 (10th Cir. 2008) (“The law is crystal clear: ‘a private citizen

   lacks a judicially cognizable interest in the prosecution or nonprosecution of another.’...

   [A] private citizen has no standing to initiate federal criminal prosecutions.”); Bass

   Angler Sportsman Society v. U.S. Steel Corp., 324 F. Supp. 412, 415 (S.D. Ala.

   1971)(dismissing plaintiff’s action which sought to recoup penalties for violation of

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   federal statute, noting that right of action of governmental authorities to enforce statute

   does not extend to private individuals in criminal action or absent express statutory

   grant).1

          Moreover, in this case, even though Mr. Cuni has submitted “new” materials

   regarding Special Agent Lucas’s alleged fraudulent conduct and indictment in other

   criminal cases in other jurisdictions, he has not offered any new evidence, beyond that

   which he presented on his direct appeal, that relates specifically to his case. Thus,

   allegations pertinent to Mr. Cuni’s conviction have already been ruled upon by the

   Eleventh Circuit, and may not be rehashed through the instant motion.

          C. Federal Rule of Civil Procedure 60(b)

          Alternatively, arguably, the requested relief may be viewed as a Motion for Relief

   from Judgment or Order pursuant to Federal Rule of Civil Procedure Rule 60(b), which

   provides, in pertinent part, that a party may be relieved from a final judgment based on

   newly discovered evidence, 60 (b)(2), or fraud, misrepresentation or misconduct by an

   opposing party, 60(b)(3). Of course, this Rule only applies in the context of civil cases

   brought under § 2255. Construing the present motion most liberally, even though it was

   not filed in one of his prior § 2255 cases, Mr. Cuni may be seeking to have this court

   revisit one of his prior § 2255 motions based upon the “new” evidence of the alleged

   fraud perpetrated against the court. However, Rule 60 requires that a motion brought

   under sections (2) or (3) be made no more than one year after the entry of the judgment


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             Nothing in this Report and Recommendation should be construed to imply that
   the undersigned condones any of the allegedly criminal activities or false statements
   made by Agent Lucas. However, he is presently facing criminal prosecution for such
   activities in another District, and the United States Department of Justice is capable of
   investigating and exercising its discretion to determine whether a similar prosecution
   should be instituted in this District.

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   or order or the date of the proceeding. Thus, Mr. Cuni’s Motion, viewed for purposes of

   this analysis as a Rule 60 motion, is untimely because it was filed well beyond the one

   year time limit set forth in that Rule. Galatolo v. United States, 196 Fed. Appx. 854 (11th

   Cir. 2006).

          Also, although Rule 60 is a rule of civil procedure, generally motions brought

   under this Rule are subject to the restrictions set forth in AEDPA to the extent that they

   seek to attack the validity of an underlying criminal conviction and add a new ground for

   relief, rather than attacking the integrity of previous § 2255 proceedings. United States

   v. Terrell, 1451 Fed. Appx. 849 (11th Cir. 2005) (citing Gonzalez v. Crosby, 545 U.S. 524

   (2005) and applying holding to § 2255 context). While there is an exception to the

   AEDPA restrictions as applied to certain Rule 60(b) Motions where fraud is alleged, that

   exception only applies when it is alleged that the fraud perpetrated on the federal court

   “resulted in the denial of federal habeas relief, not where the fraud was perpetrated on

   the trial court.” El-Amin v. U.S., 172 Fed. Appx. 942 (11th Cir. 2006) (citing Gonzalez v.

   Sec’y for Dep’t of Corrections, 366 F.3d 1253, 1278 (11th Cir. 2004) (en banc), aff’d on

   other ground sub nom. Gonzalez v. Crosby, 545 U.S. 524 (2005)). In this case, Mr. Cuni

   does not argue that the denial of his earlier habeas petitions were the result of fraud, but

   rather asserts that the information in the affidavits submitted to obtain the wiretaps used

   as evidence against Mr. Cuni at the trial stage of this proceeding was fraudulent. Thus,

   the fraud exception limiting AEDPA’s application to Rule 60 motions does not apply to

   the instant motion.

          Further, the undersigned notes that Mr. Cuni’s argument seemingly is without

   substantive merit, in any event. In particular, the Defendant has not asserted that the

   evidence presented at trial was fraudulent, rather argues that information used to secure

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   the wiretaps for the investigation which ultimately produced incriminating evidence was

   fraudulent. Thus, even under the Defendant's analysis and version of the facts, the

   evidence at trial secured Mr. Cuni's conviction was not fraudulent, and thus no judgment

   was obtained through a fraud upon the court.

          III.   CONCLUSION

          Therefore, based on a review of the record as a whole, it is hereby

          RECOMMENDED that Defendant Oscar Cuni’s Motion to Investigate (DE # 1824)

   be DISMISSED for lack of jurisdiction.

          The parties will have ten days from the date of service of this Order within which

   to file written objections, if any, for consideration by the United States District Judge to

   whom this case is assigned. Failure to file objections timely shall bar the parties from

   attacking on appeal any factual findings contained herein. LoConte v. Dugger, 847 F.2d

   745 (11th Cir. 1988); RTC v. Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993).

          DONE AND SUBMITTED in chambers in Miami, Florida, on July 28, 2009.




                                                     ANDREA M. SIMONTON
                                                     UNITED STATES MAGISTRATE JUDGE




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